      Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 1 of 16



                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


FEDERAL   DEPOSIT  INSURANCE
CORPORATION AS RECEIVER FOR
R-G PREMIER BANK OF PUERTO
RICO,

     Plaintiff,

                  v.                      Civil No. 18-1960 (FAB)

FRANCISCO    ALMEIDA-LEÓN,     et
al.,

     Defendants.


                          OPINION AND ORDER

BESOSA, District Judge.

     Before the Court is the Federal Deposit Insurance Corporation

(“FDIC”)’s motion for a preliminary injunction.         (Docket No. 12.)

For the reasons set forth below, the Court DENIES the FDIC’s

motion.

I.   Background

     Defendants Juan Almeida-León, Francisco Almeida-León, Wanda

Cruz-Quiles, their conjugal partnership, and Tenerife Real Estate

Holdings LLC (collectively, “the Almeidas”) are litigants in two

civil actions:    (1) FDIC v. Almedia-León et al., Civil No. 18-1960

(FAB) (District of Puerto Rico action), and (2) Tenerife Real

Estate Holdings, LLC et al. v. United States, Civil No. 16-685
       Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 2 of 16



Civil No. 18-1960 (FAB)                                                      2

(“Court of Federal Claims action”).             The actions arise from the

same factual allegations.

      On April 11, 2017, R-G Premier Bank loaned the Almeidas

$2,100,000.00.      (Docket No. 1 at p. 4.)            The Office of the

Commissioner of Financial Institutions in Puerto Rico closed R-G

Premier Bank on April 30, 2010, naming the FDIC as receiver.               Id.

The Almeidas defaulted on the loan.             Id. at p. 6.     The FDIC as

receiver (FDIC-R) filed a complaint against the Almeidas for the

collection of monies and mortgage foreclosure.               FDIC v Almedia-

León, et al., Civil No. 12-2025 (FAB), Docket No. 1.                 The Court

entered judgment in favor of the FDIC-R on September 26, 2013.

(Docket No. 25.)

      According    to     the     FDIC,   the     Almeidas     attempted    to

“fraudulently transfer away valuable assets that [were] otherwise

subject to execution by the FDIC-R through the enforcement of the

Judgment entered by this Court.” (12-2025, Docket No. 27 at p. 4.)

The   FDIC-R   moved    for   a   temporary   restraining    order    (“TRO”),

requesting that the Court stay “the public bid process of the

[mortgaged properties] in order to ensure that the proceeds of

said sale which correspond to Juan [Almeida] – and which would

therefore be attachable by the FDIC – are properly preserved.”

Id. at p. 11.     This Court granted the FDIC-R’s motion for a TRO,

restraining the Almeidas from “conducting, otherwise causing the
      Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 3 of 16



Civil No. 18-1960 (FAB)                                                  3

occurrence of, the auction scheduled to be held on May 29, 2014 at

9:30 a.m. at the Puerto Rico Court of First Instance, San Juan

Superior Division.” (12-2025, Docket No. 29.) The Court converted

the TRO to a preliminary injunction with the consent of the

parties.   (12-2025, Docket No. 54.)      Ultimately, the FDIC and the

Almeidas reached a settlement agreement on July 28, 2014.              (12-

2025, Docket No. 68.)     Consequently, the Court granted the FDIC-

R’s motion to set aside the preliminary injunction.             (12-2025,

Docket Nos. 68 and 69.)

     A.    The FDIC/Almeida Settlement Agreement

           The Almeidas agreed to pay the FDIC-R with proceeds from

the foreclosure of three properties located on Kennedy Avenue in

San Juan, Puerto Rico, referred to as the “Kennedy Property.” (12-

2025, Docket No. 65, Ex. 1.)      The settlement agreement contains a

mandatory forum selection clause, providing that:

     [The FDIC-R and the Almeidas] agree that jurisdiction
     and venue in any action to enforce any provision of this
     Agreement, or for breach of this Agreement shall be the
     [United States District Court for the District of Puerto
     Rico] which shall retain jurisdiction for enforcement
     purposes.      Notwithstanding    the   foregoing,   the
     Foreclosure Action and Foreclosure Auction will remain
     in and under the jurisdiction of State Court.
       Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 4 of 16



Civil No. 18-1960 (FAB)                                                       4

Id. at p. 12. 1     Also, the settlement agreement provided that the

FDIC   “is   currently     obtaining    a   Phase   1   Environmental      Site

Assessment report on and assessing the environmental condition of

the Kennedy Property.”       Id. at p. 9.    The FDIC pledged to complete

the Environmental Site Assessment “as quickly as possible.”                 Id.

The parties stipulated that the “Foreclosure Auction [would] not

occur” until the FDIC completed the Environmental Site Assessment.




1 Courts have recognized two forms of forum selection clauses:    permissive and
mandatory. Permissive forum selection clauses are “often described as ‘consent
to jurisdiction’ clauses, [and] authorize jurisdiction and venue in a designated
forum, but do not prohibit litigation elsewhere.” Rivera v. Centro Médico de
Turabo, Inc., 575 F.3d 10, 17 (1st Cir. 2009) (distinguishing permissive and
mandatory forum selection clauses) (citing 14D Charles Alan Wright, Arthur R.
Miller & Edward H. Cooper, Federal Practice and Procedure § 3803.1 (3d ed.
1998)). In contrast, mandatory forum selection clauses “contain clear language
indicating that jurisdiction and venue are appropriately and exclusively in the
designated forum.” Id. Preclusive language such as “shall” and “must” suggests
that the clause is mandatory. See Claudio-de León v. Sistema Universitario Ana
G. Méndez, 775 F.3d 41, 46 (1st Cir. 2014) (interpreting contractual language
stating that litigation “shall be submitted to the jurisdiction and competence
of the Court of First Instance of the Commonwealth of Puerto Rico, San Juan
Part” constituted a mandatory forum selection clause).      The forum selection
clause in the FDIC-R/Almeida settlement agreement incorporates preclusive
language, including “shall” and “any action to enforce any provision.” (Docket
No. 65, Ex. 1 at p. 12.) Accordingly, the forum selection clause is mandatory.
         Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 5 of 16



Civil No. 18-1960 (FAB)                                                       5

Id. 2

        B.   The Court of Federal Claims Action

             The   foreclosure     of   the   Kennedy    Property    has    not

occurred.      On May 23, 2017, the Almeidas commenced an action in

the United States Court of Federal Claims pursuant to the Tucker

Act, 28 U.S.C. § 1491.       See Tenerife Real Estate Holdings, LLC, et




2 The FDIC-R sold all of its rights, titles, and interests related to the
Almeida’s loan to WM Capital in 2015. (Civil No. 12-2025, Docket No. 78 at p.
5.) WM Capital requested that the Court substitute it “into the place of the
FDIC-R as the . . . real party in interest” pursuant to Federal Rule of Civil
Procedure 25. (Civil No. 12-2025, Docket No. 73 at p. 1.) The Court granted
WM Capital’s motion for substitution. (Civil No. 12-2025, Docket No. 74.)

The Almeidas sued WM Capital for breach of contract and litigious credit in the
Puerto Rico Court of First Instance, San Juan Division. Almeida-León, et al. v.
WM capital, et al., Civil No. KAC2016-0027; see 31 P.R. Laws Ann. tit. 31, §§
3052, 3950.   WM Capital filed a notice of removal on March 7, 2016 in this
Court. Almeida-León et al. v. CM Capital Mgmt., Inc., Civil 16-1394 (DRD).
Subsequently, WM Capital filed a counterclaim against the Almeidas for breach
of contract. Id., Docket No. 25 at pp. 12—13.

The Court granted WM Capital’s motions for dismissal and summary judgement
regarding the litigious credit and breach of contract causes of action,
respectively. Almeida-León v. WM capital Mgmt., 236 F. Supp. 3d. 524 (D.P.R.
2019) (Casellas, J.); Almeida-León v. WM Capital Mgmt., Civil 16-1394, 2018
U.S. Dist. LEXIS 45584 (D.P.R. Mar. 19, 2018) (Domínguez, J.). Because “WM
Capital still has a live counterclaim for breach of contract,” however, the
Court refrained from issuing a partial judgment.    WM Capital Mgmt., 2018 U.S.
Dist. LEXIS 45584 *9—10.     Oral argument regarding WM Capital’s motion for
summary judgment as to its counterclaim against the Almeidas is set for February
21, 2019. (Civil No. 16-1394; Docket No. 223.)
         Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 6 of 16



Civil No. 18-1960 (FAB)                                                        6

al. v. United States, Civil No. 17-685. 3             The Almeidas sued the

United States, asserting that the “FDIC is an agency of the United

States as defined by 28 U.S.C. § 451; is part of the United States

of America, with powers to sue and to be sued.”              Id. at p. 14.

              The Almeidas premised the Court of Federal Claims action

on their settlement agreement with the FDIC-R.              See Civil No. 12-

2025. They alleged that the FDIC “never disclosed the fact that,

before the [settlement agreement] was signed, it had in fact

obtained      the   environmental    study   which   demonstrated     that    the

mortgaged realty posed no environmental risk to health or safety.”

(Docket No. 14 at p. 4.)        The amended complaint sets forth a breach

of contract claim pursuant to Puerto Rico law, and a Takings Claim

pursuant to the Fifth Amendment of the United States Constitution.




3   The Tucker Act provides that:

        The United States Court of Federal Claims shall have jurisdiction
        to render a judgment upon any claim against the United States
        founded either upon the Constitution, or any Act of Congress or any
        regulation of an executive department, or upon any express or
        implied contract with the United States, or for liquidated damages
        in cases not sounding in tort.

28 U.S.C. § 1491.    The Court of Federal Claims has exclusive jurisdiction
regarding “Big Tucker” claims for more than $10,000. Id.; see Charles v. Rice,
28 F.3d 1312, 1321 (1st Cir. 1994).    District courts and the Court of Federal
Claims share concurrent jurisdiction for “Little Tucker” claims of less than
$10,000.   28 U.S.C. § 1346(a)(2); Sibley v. Ball, 924 F.2d 28—29 (1st Cir.
1991).
         Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 7 of 16



Civil No. 18-1960 (FAB)                                                        7

Id. at p. 17. 4      The Almeidas seek $20 million in damages for each

plaintiff.     Id. at p. 20.

             1.      The Court of Federal Claims Dismissed the Almeidas’
                     Amended Complaint

                     The United States moved to dismiss the Almeidas’

amended      Court     of   Federal    Claims       complaint    pursuant     to

Rule 12(b)(1).        (Docket No. 15.)        The Court of Federal Claims’

jurisdiction is “limited to actual, presently due money damages

from the United States.”         Bowen v. Massachusetts, 487 U.S. 879,

914 (1988) (internal citation and quotation omitted).               The United

States     asserted     that   the    Court    of    Federal    Claims    lacked

jurisdiction, because “claims relating to the FDIC’s actions are

not claims against the United States.”              (Docket No. 15 at p. 1.) 5




4 The Tucker Act “does not create any substantive right enforceable against the
United States for money damages.” United States v. Mitchell, 463 U.S. 206, 216
(1983).   The statute is “simply a jurisdictional provision that operates to
waive sovereign immunity for claims presented on other sources of law.” Paret-
Ruiz v. United States, 827 F.3d 167, 176 (1st Cir. 2016) (quoting United States
v. Bromes, 568 U.S. 6, 10 (2012)).

5 The United States also argued to the Almeidas’ claims are subject to the
Financial Institutions Reform, Recovery and Enforcement Act of 1989 (“FIRREA”),
not the Tucker Act. Docket No. 15 at p 6; citing 12 U.S.C. §1821 et seq; see
United States v. Bormes, 568 U.S. 6, 13 (2012) (“Statutory schemes with their
own remedial framework exclude alternative relief under the general terms of
the Tucker Act.”). FIRREA governs “any claim relating to any act or omission
of . . . the [FDIC] as receiver.” 12 U.S.C. § 1821(d)(13)(D)(ii). Pursuant to
FIRREA, claimants may seek redress in “the district or territorial court of the
United States for the district within which the depository institution’s
principal place of business is located or the United States District Court for
the District of Columbia.” 12 U.S.C. § 1821(d)(6)(A)(ii). Consequently, the
United States argued that the Court of Federal Claims lacked jurisdiction to
adjudicate FIRREA actions against the FDIC in its capacity as a receiver.
       Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 8 of 16



Civil No. 18-1960 (FAB)                                                     8

                  On January 23, 2018, the Court of Federal Claims

granted the United States’ motion to dismiss, holding that the

“FDIC is not the United States when it acts as a receiver for a

failed bank.” Tenerife Real Estate Holdings, LLC v. United States,

126 Fed. Cl. 156, 160 (2018); citing O’Melveny & Meyers v. FDIC,

512 U.S. 79, 85 (1994) (“But the FDIC is not the United States,

and even if it were we would be begging the question to assume

that it was asserting its own rights rather than, as receiver, the

rights of [the failed bank].”). 6        Accordingly, the United States

prevailed because the Court of Federal Claims lacked subject matter

jurisdiction.     Id.

            2.    The Almeidas’ Appeal is Pending Before the United
                  States Court of Appeals for the Federal Circuit

                  The Almeidas filed a notice of appeal and an opening

brief in the United States Court of Appeals for the Federal Circuit

on April 26, 2018 and August 8, 2018, respectively.           (No. 18-1907,

Docket Nos. 1 and 15.)        The United States filed its responsive

brief on December 7, 2018.        (Docket No. 20.)       A week later, the

FDIC filed an amicus brief.      (Docket No. 22.)     On February 4, 2019,

the Almeidas filed a reply brief.         (Docket No. 28.)


6 Because the Almeidas failed to comply with the administrative requirements

set forth in FIRREA, the Court of Federal Claims held that “transferring [the]
case to the proper district court is inappropriate at this time.” Tenerife
Real Estate Holdings, 126 Fed. Cl. at 162 (noting that the Almeidas filed suit
“nearly six months after the notice of disallowance,” a violation of FIRREA’s
60-day requirement to do so).
       Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 9 of 16



Civil No. 18-1960 (FAB)                                                  9

                 The Almeidas argue that the FDIC is the United

States because the “FDIC did not act as a receiver in the ordinary

course of business.”     (Docket No. 13, Ex. 1 at p. 25.)       The United

States maintains that the FDIC as receiver “does not act on behalf

of the United States for purposes of Government liability under

the Tucker Act.”    Docket No. 20 at pp. 21 and 34; citing Atherton

v. FDIC, 519 U.S. 213, 225 (1997) (“[H]ere, as in O’Melveny, the

FDIC is acting only as a receiver of a failed institution; it is

not pursuing the interests of the Federal Government as a bank

insurer.”).    The FDIC argued in its amicus brief, however, that

“the FDIC as receiver counts as the United States for Tucker Act

Purposes.”    Docket No. 22 at p. 11; citing Auction Co. of Am. v.

FDIC, 132 F.3d 746, 750 (D.C. Cir. 1997) (“As the FDIC as Receiver

counts as the United States for the Tucker Act, it does so for the

Tucker Act (and general federal) statute of limitations.”). 7           The

FDIC suggested that the Court of Appeals for the Federal Circuit

“may wish to sua sponte stay its proceedings or at least defer

issuing a decision until the Puerto Rico district court decides

the applicability of the forum selection clause.”          (Docket No. 22

at p. 10.)    The Court of Appeals for the Federal Circuit has not

issued a decision.      Oral arguments will occur between April and


7 The FDIC argued that the Court of Appeals for the Federal Circuit “should
affirm the Court of Federal Claims’ holding that FIRREA deprived it of
jurisdiction over this case.” (Docket No. 22 at p. 30.)
       Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 10 of 16



Civil No. 18-1960 (FAB)                                                       10

September.         See Docket No. 33; Fed. R. App. P. 34(a) (“Oral

argument must be allowed in every case unless a panel of three

judges . . . agrees that oral argument is unnecessary.”).

       C.    The District of Puerto Rico Action

             The FDIC commenced this action on February 13, 2018,

just one day before the FDIC filed its amicus brief in the Court

of Federal Claims action.         (Civil No. 18-1960, Docket No. 1; Civil

No. 18-1907, Docket No. 22.) The FDIC seeks a declaratory judgment

holding     that    the   forum   selection    clause   in    the   FDIC/Almeida

settlement agreement is mandatory, and that the Court enjoin the

Almeidas from litigating in any jurisdiction other than in this

Court.      (Docket No. 1 at p. 2.)           Ultimately, the FDIC requests

that the Court order the Almeidas to dismiss their complaint in

the Court of Federal Claims and their corresponding appeal before

the Court of Appeals for the Federal Circuit.                Id.

             On January 4, 2019, the FDIC moved for a preliminary

injunction, because the Almeidas “flouted [the] forum selection

clause by filing litigation elsewhere.”             (Docket No. 12 at p 9.)

The Almeidas responded, and the FDIC replied.            (Docket Nos. 27 and

35.)   The Court heard argument at a preliminary injunction hearing

on February 13, 2019.         (Docket No. 37.)      The FDIC’s arguments in

support of the preliminary injunction motion are unconvincing.
      Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 11 of 16



Civil No. 18-1960 (FAB)                                                           11

II.   Preliminary Injunction Standard

      The purpose of injunctive relief is to prevent future acts or

omissions of the non-movant that violate the law or constitute

harmful conduct.       United States v. Oregon Med. Soc., 343 U.S. 326,

333 (1952).     A preliminary injunction “is traditionally viewed as

relief of an extraordinary nature and does not purport to be a

disposition of the matter on its merits.”                  Sánchez v. Esso Std.

Oil   Co.,   572     F.3d    1,   14   (1st    Cir.   2009)   (internal   citation

omitted).     The FDIC’s motion for a preliminary injunction is “a

matter for the discretion of the district court and is reversible,

of course, only for an abuse of discretion.”                    Planned Parenthood

League v. Bellotti, 641 F.2d 1006, 1009 (1st Cir. 1981).

      The    Court    must    consider        the   following    four   factors   in

determining whether to grant the FDIC’s motion: (1) the likelihood

that the FDIC will succeed on the merits; (2) the potential for

irreparable harm if the injunction is denied; (3) the balance of

the relevant equities (i.e., the hardship that will befall the

Almeidas if the injunction issues contrasted with the hardship

that will befall the FDIC if the injunction does not issue); and

(4) the effect of the Court’s ruling on the public interest. Id.

      Irreparable harm “constitutes a necessary threshold showing

for an award of preliminary injunctive relief.”                   González-Droz v.

González-Colón, 573 F.3d 75, 79 (1st Cir. 2009).                   “Delay between
        Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 12 of 16



Civil No. 18-1960 (FAB)                                                       12

the institution of an action and the filing of a motion for a

preliminary injunction, not attributable to intervening events,

detracts from the movant’s claim of irreparable harm.” Charlesbank

Equity Fund II, Ltd. v. Blinds To Go, Inc., 370 F.3d 151, 163 (1st

Cir. 2004) (citation omitted); see Zavala-Santiago v. González-

Rivera, 553 F.2d 710, 712-13 (1st Cir. 1977) (“When a claim for

injunctive relief deserves and is granted priority treatment, a

reasonable inference from the delay of the moving party is that he

has little interest in vindicating whatever rights he may have.”).

If the FDIC “has already been subjected to the putative harm caused

by the defendants’ conduct for a significant period of time, [the

FDIC]    cannot   credibly    argue    that   pressing    hardship     requires

injunctive relief in the interim before the underlying matter is

resolved.”     HCC Specialty Underwriters, Inc. v. Woodbury, 289 F.

Supp. 3d 303, 323 (D.N.H. 2018) (internal citation and quotation

omitted) (holding that a 10-month delay in seeking injunctive

relief undercuts the movant’s irreparable harm argument). 8


8 See Asymmetrx Med., Inc. v. McKeon, 932 F. Supp. 2d 232, 237 (D. Mass. 2013)
(“[Movant’s] unexplained delay in seeking injunctive relief belies her claims
for irreparable harm.”); Jordache Enterprises, Inc. v. Levi Strauss & Co., 841
F. Supp. 506, 521 (S.D.N.Y. 1993) (delay in moving for a preliminary injunction
“undercuts the sense of urgency that ordinarily accompanies a motion for
preliminary relief and suggests that there is, in fact, no irreparable injury.”)
(internal quotation omitted); Snyder v. Am. Kennel Club, 575 F. Supp. 2d 1236,
1242-43 (D. Kan. 2008) (holding that the movant failed to establish irreparable
harm after a ten-month delay); Costello v. McEnery, 767 F. Supp. 72, 78 (S.D.N.Y.
1991) (holing that a one-year delay “bolsters the Court’s conclusion that there
has been an insufficient showing of irreparable harm to justify issuance of a
preliminary injunction”).
      Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 13 of 16



Civil No. 18-1960 (FAB)                                                    13

III. The FDIC Failed to Demonstrate Irreparable Harm

      While the United States opposed the FDIC’s Tucker Act causes

of action in the Court of Federal Claims and prevailed on its

motion to dismiss, the FDIC did nothing.             The Court of Federal

Claims action commenced on May 23, 2017. (Civil No. 17-685, Docket

No.   1.)    The   FDIC   moved   for   injunctive   relief,   however,    on

December 13, 2018 in its complaint, and again on January 4, 2019

in its motion for a preliminary injunction.                (Docket Nos. 1

and 12.)    Accordingly, the FDIC did not move for injunctive relief

until eighteen months after the Almeidas sued the United States in

the Court of Federal Claims.            Indeed, the FDIC never appeared

before the Court of Federal Claims.          The FDIC filed a notice of

appearance in the Court of Appeals for the Federal Circuit on

December 13, 2018, the same day it filed the complaint in this

action.     (Civil No. 17-683, Docket No. 21; Civil No. 18-1960,

Docket No. 1.)      Moreover, the amicus brief is the only pleading

that the FDIC filed in the Court of Appeals for the Federal

Circuit.    (Civil No. 17-683, Docket No. 22.) 9




9 The Almeidas argued that the FDIC lacked standing to seek a preliminary
injunction. (Docket No. 27 at p. 2.) The Court is cognizant that the proponent
of a preliminary injunction must establish that it has standing. Cf. Almond v.
Capital Prop., 212 F.3d 20, 22 (1st Cir. 2000) (noting that the defendant’s
“most salient claims are that the state lacks standing to seek a preliminary
injunction, [and] that the injunction was improvidently granted”). The Court
need not address standing, however, because the FDIC failed to satisfy the
irreparable harm threshold prong of the preliminary injunction analysis.
        Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 14 of 16



Civil No. 18-1960 (FAB)                                                      14

      The record negates the FDIC’s irreparable harm argument.

Tellingly, the FDIC fails to address the eighteen-month delay in

its motion for a preliminary injunction.          (Docket No. 12.)      During

this delay, the FDIC did not file a single motion in the Court of

Federal Claims action, a litigation to which it is not a party.

At the preliminary injunction hearing, the FDIC attributed the

eighteen-month delay to an “unfortunate . . . miscommunication.” 10

The FDIC avers that “the people that needed to be aware were not

aware    until   very    recently.”      This    explanation     is   patently

insufficient.      See Markowitz Jewelry Co. v. Chapal/Zenray, Inc.,

988 F. Supp. 404, 407 (S.D.N.Y. 1997) (holding that the party

seeking injunctive relief “bore the burden of coming forward with

evidence to excuse its delay,” and failed to do so because its

“vague suggestions [were] insufficient to explain the [thirteen-

month] delay”).         The eighteen-month delay between the Court of




10Court reporters are responsible for promptly filing, when requested, certified
transcripts of all proceedings before the Court. 28 U.S.C. § 753. Transcripts
are available to parties for a fee. The Court may access preliminary drafts of
the transcripts before the official transcript is published. This Opinion and
Order cites to a preliminary draft of the transcript.
      Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 15 of 16



Civil No. 18-1960 (FAB)                                                      15

Federal Claims action and the FDIC’s motion for a preliminary

injunction evinces a lack of urgency. 11

      The FDIC claims that it “will suffer irreparable harm absent

an injunction because having to litigate in a forum other than

[the jurisdiction] selected in the Agreement deprives the FDIC-R

of the benefit of its bargained-for forum selection clause.”

(Docket No. 12 at p. 15.)        Neither the FDIC nor the United States

moved for intervention in the Court of Federal Claims action

claiming an interest in the Kennedy Avenue property. 12            The United

States, the Almeidas, and the Court of Federal Claims litigated

and disposed of the Tucker Act claims without an appearance from



11 The FDIC cites precedent from the First Circuit Court of Appeals for the
proposition that injunctive relief is appropriate despite an eighteen-month
delay.    (Draft Transcript, p. 4) (citing Claudio de León v. Sistema
Universaritario Ana F. Méndez, 775 F.3d 41 (1st Cir. 2014); Silva v.
Encyclopedia Britannica, Inc., 239 F.3d 385 (1st Cir. 2001)).        Both cases
addressed the enforceability of mandatory forum selection clauses in the context
of a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).
Id. In Claudio de León, the First Circuit Court of Appeals held that a “motion
to dismiss based on a forum-selection clause may be raised at any time in the
proceedings before disposition on the merits.” 775 F.3d at 49; see Silva, 239
F.3d at 388 (holding that the movant timely filed “its motion to dismiss before
the completion of discovery”). Neither decision addressed delay in seeking a
preliminary injunction.    Id.    Accordingly, Claudio de León and Silva are
inapposite. Id.

12Rule 24 of the United States Court of Federal Claims provides that parties
may intervene as a matter of right by:

      [claiming] an interest relating to the property or transaction that
      is subject of the action, and is so situated that disposing of the
      action may as a practical matter impair or impede the movant’s
      ability to protect its interest, unless existing parties adequately
      represent that interest.

R. Fed. Cl. 24(1)(2).
      Case 3:18-cv-01960-FAB Document 39 Filed 02/19/19 Page 16 of 16



Civil No. 18-1960 (FAB)                                                 16

the FIDC.   Tenerife Real Estate Holdings, LLC, 126 Fed. Cl. 156.

The Court is cognizant that the “preliminary injunction standard

weighs the potential for harm to the [FDIC] if the injunction is

denied, not the potential for irreparable harm to the [FDIC] if

the injunction is granted.”       Esso Std. Oil, 445 F.3d at 19.        At

this juncture, the FDIC is not a party to the Court of Federal

Claims action and has filed one motion on appeal.            Accordingly,

the FDIC’s assertion regarding its need to litigate in the Court

of Federal Claims action is suspect.

IV.   CONCLUSION

      For the reasons discussed above, the Court DENIES the FDIC’s

motion for a preliminary injunction.       (Docket No. 12.)

      The parties will inform the Court, no later than February 25,

2019, if this case may be dismissed.      The FDIC’s prayers for relief

have been essentially resolved by this Opinion and Order.

      IT IS SO ORDERED.

      San Juan, Puerto Rico, February 19, 2019.


                                        s/ Francisco A. Besosa
                                        FRANCISCO A. BESOSA
                                        UNITED STATES DISTRICT JUDGE
